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 6                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
 7
                         SAN FRANCISCO-OAKLAND DIVISION
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 9
     AMERICAN CIVIL LIBERTIES
10   UNION FOUNDATION, et al.,                 Case No. 19-CV-00290-EMC
11                 Plaintiffs,                 JOINT STATUS REPORT
12
            v.
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     DEPARTMENT OF JUSTICE, et al.,
14
15                 Defendants.
16
17
           The parties jointly submit this status report pursuant to Judge Illman’s orders
18
     dated June 10, 2020, and July 13, 2020 (ECF Nos. 56, 63), addressing the status of
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     searches and processing of records by the Department of Justice’s Office of
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     Information Policy (“OIP”), the Federal Bureau of Investigation (“FBI”), the State
21
     Department (“State”), the Department of Homeland Security’s Office of
22
     Intelligence & Analysis (“I&A”) and the DHS Privacy Office (“DHS”).
23
     Defendants’ Report
24
           I.     OIP
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           OIP is continuing to process responsive records located in its search and is
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     making monthly rolling releases of non-exempt records. OIP issued its most recent
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     interim response on July 13, 2020, and continues to anticipate that it will make its
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 1   final release of documents on or about September 12, 2020.
 2         II.     FBI
 3         The FBI has continued to be able to process FOIA requests on a limited
 4   basis. In this case, the FBI processed 364 pages for June and released 32 pages on
 5   June 30, 2020. Approximately 4,017 pages remain to be processed. For this month
 6   (July), the FBI will be returning to processing 500 pages a month.
 7         III.    State Department
 8         The State Department remains in phase one of the resumption of normal
 9   operations, which means that the FOIA office is practicing maximum telework. A
10   very limited number of FOIA personnel are coming into the office (most, if not all,
11   on a part-time basis), and they are working first and foremost on the cases to which
12   they are assigned. To the extent these personnel have surplus capacity, they have
13   been instructed to prioritize two categories of cases: (1) cases for which the
14   processing of both unclassified and classified documents is nearly complete, and
15   (2) cases involving requests for which the Department granted expedited
16   processing.
17         The personnel assigned to this case are not among those who have returned
18   to the office, and this case does not fall into either of the two prioritization
19   categories. Accordingly, the State Department is not currently in a position to
20   resume processing of documents in this case. State is currently evaluating trends to
21   determine its readiness to move to phase two of the resumption of normal
22   operations.
23         IV.     DHS Privacy Office (“DHS”)
24         The parties have continued to confer in an attempt to reach an agreement
25   regarding the scope of DHS’s searches. On June 26, 2020, the parties and their
26   counsel participated in a conference call to discuss technological limitations that
27   have constrained DHS’s ability to conduct broad electronic searches in response to
28   Plaintiffs’ FOIA request. Following that discussion, Plaintiffs shared a four-part
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 1   proposal with Defendants’ counsel on June 29, 2020 regarding the parameters of
 2   DHS’s search. DHS raised concerns regarding one portion of that proposal, and the
 3   parties are continuing to attempt to reach an agreement.
 4         V.     DHS I&A
 5         Consistent with the agreed-upon production schedule, I&A has continued to
 6   process at least 500 pages of potentially responsive records per month. I&A made
 7   its most recent production on June 30 and is on track to continue processing at least
 8   500 pages per month going forward.
 9         Plaintiffs’ Report
10         Plaintiffs are increasingly concerned that the State Department has not taken
11   adequate steps to meet its obligations under FOIA, notwithstanding the constraints
12   associated with the COVID-19 pandemic. While other agencies have implemented
13   contingency plans that enable continued FOIA processing on at least a limited
14   basis, it appears that the State Department has made little progress since the
15   parties’ last joint status report on June 5, 2020 (see ECF No. 55). Nor has the State
16   Department provided Plaintiffs with any anticipated schedule for resumed
17   processing in this case. The State Department should, consistent with FOIA and in
18   line with other federal agencies, adopt and communicate to Plaintiffs a plan for
19   continued processing of records responsive to Plaintiffs’ request within a
20   reasonable timeframe.
21         Next Steps
22         The parties propose filing a further joint status report in 30 days.
23
24                                          Respectfully submitted,
25                                         /s/                          s
     DATED: July 17, 2020
26                                         Hugh Handeyside
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